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                      Exhibit 3
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                        IN THE UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE


    In re:                                                           Chapter 11

    ALLIED SYSTEMS HOLDINGS, INC. et al., 1                          CaseNo.12-11564(CSS)
                                                                     (Jointly Administered)
                                     Debtors.
                                                                     Ref. Nos. 858, 876 and   1"0'1


                 ORDER (A) GRANTING MOTION OF THE OFFICIAL
             COMMITTEE OF UNSECURED CREDITORS FOR ST ANDING
           TO PROSECUTE CERTAIN CLAIMS OF THE DEBTORS ESTATES,
               (B) GRANTING MOTION OF PETITIONING CREDITORS
          FOR LEAVE TO INTERVENE, AND (C) GRANTING RELATED RELIEF

          Upon consideration of(a) the Motion Of The Official Committee Of Unsecured Creditors

For An Order Authorizing The Committee To Pursue Certain Claims And Causes Of Action Of

The Debtors' Estates [D.I. 858] (the "Committee's Motion") and (b) the Motion And

Memorandum Of Law Of Petitioning Creditors For Entry Of An Order (I) Pursuant To U.S.C.

§105(a) Granting Standing To Petitioning Creditors To Prosecute Certain Claims Of The Debtors

Estates For, Inter Alia, Equitable Subordination, Breach Of Fiduciary Duty, Aiding And

Abetting Breach Of Fiduciary Duty And Breach Of Contract, Or Alternatively (II) Granting

Petitioning Creditors Leave To Intervene As Plaintiffs In Adversary Proceeding No. 13-50530

Pursuant To Federal Rule Of Civil Procedure 24 [D.I. 876] (the "Petitioning Creditors' Motion",

and together with the Committee Motion, the "Standing Motions"), and; the Court finding that (i)


     The Debtors in these cases, along with the federal tax identification number (or Canadian business number
     where applicable) for each of the Debtors, are: Allied Systems Holdings, Inc. (XX-XXXXXXX); Allied
     Automotive Group, Inc. (XX-XXXXXXX); Allied Freight Broker LLC (XX-XXXXXXX); Allied Systems (Canada)
     Company (XX-XXXXXXX); Allied Systems, Ltd. (L.P.) (XX-XXXXXXX); Axis Areta. LLC (XX-XXXXXXX); Axis
     Canada Company (875688228); Axis Group, Inc. (XX-XXXXXXX); Commercial Carriers, Inc. (XX-XXXXXXX); CT
     Services. Inc. (XX-XXXXXXX); Cardin Transport LLC (XX-XXXXXXX); F.J. Boutell Driveaway LLC (XX-XXXXXXX);
     GACS Incorporated (XX-XXXXXXX); Logistic Systems. LLC (XX-XXXXXXX); Logistic Technology, LLC (45-
     4242057): QAT, Inc. (XX-XXXXXXX): RMX LLC (XX-XXXXXXX); Transport Support LLC (XX-XXXXXXX); and
     Terminal Services LLC (XX-XXXXXXX).

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it has jurisdiction over the Standing Motions pursuant to 28 U.S.C. §§ 157 and 1334, (ii) the

Standing Motions are core proceedings pursuant to 28 U.S.C. § 157(b)(2); and (iii) venue is

proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that proper and

adequate notice has been given with respect to the Standing Motions and no other or further

notice is necessary; and the Court having conducted a hearing in respect of the Standing Motions

on February 27, 2013 (the "Hearing"); and the Court having considered all arguments of counsel

and objections raised at the Hearing, and the submissions of parties-in-interest, including

(without limitation) (x) the Debtors' Consolidated Response To: (A) Motion Of The Official

Committee Of Unsecured Creditors For An Order Authorizing The Committee To Pursue

Certain Claims and Causes of Action Of The Debtors' Estates and (B) Motion And

Memorandum Of Law Of Petitioning Creditors For Entry Of An Order (I) Pursuant To U.S.C.

§105(a) Granting Standing To Petitioning Creditors To Prosecute Certain Claims Of The Debtors

Estates For, Inter Alia, Equitable Subordination, Breach Of Fiduciary Duty, Aiding And

Abetting Breach Of Fiduciary Duty And Breach Of Contract, Or Alternatively (II) Granting

Petitioning Creditors Leave To Intervene As Plaintiffs In Adversary Proceeding No. 13-50530

Pursuant To Federal Rule Of Civil Procedure 24 [D.I. 907] ("Debtors' Response"), (y) Defendant

Mark Gendresgske's Response to Standing Motions [D.l. 906] ("Gendreske Objection"), and (z)

the Response of the Official Committee of Unsecured Creditors to the Motion And

Memorandum Of Law Of Petitioning Creditors For Entry Of An Order (I) Pursuant To U.S.C.

§105(a) Granting Standing To Petitioning Creditors To Prosecute Certain Claims Of The Debtors

Estates For, Inter Alia, Equitable Subordination, Breach Of Fiduciary Duty, Aiding And

Abetting Breach Of Fiduciary Duty And Breach Of Contract, Or Alternatively (II) Granting

Petitioning Creditors Leave To Intervene As Plaintiffs In Adversary Proceeding No. 13-50530



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Pursuant To Federal Rule Of Civil Procedure 24 [D.I. 925] (the "Committee Response"); and

sufficient cause having been shown; and for the reasons stated by the Court on the record at the

Hearing, it is hereby ORDERED as follows:
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                                                                                                            11er~ .....

                        1.           The Committee Motion is grante( The Committee shall have standing to
                                                                                  ,.-
prosecute the claims and causes of action (the "Claims") set forth in the Adversary Proceeding

No. 13-50530 (as the same may be amended from time to time; the "Committee Adversary

Proceeding") on behalf of the Debtors' estates.

                        2.           The Petitioning Creditors' request for standing to prosecute the claims in

the Adversary Proceeding No. 13-50499 (the "Petitioning Creditors' Adversarv Proceeding") is

withdrawn wit;hottt p1ejttdiee.
             ~
                        3.          The Petitioning Creditors' request to intervene in the Committee

Adversary Proceeding as plaintiffs, on behalf of themselves and not on behalf of the Debtors'

estates, is granted.
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                    4.                The caption of the Committee Adversary Proceeding shall be amended to

read as follows:




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In re:
                                                                     Chapter 11
Allied Systems Holdings, Inc. et al,
                                                                     Case No.: 12-11564 (CSS)
                                Debtors.                             (Jointly Administered)
-------------------------------------------------------------   }{

The Official Committee of Unsecured Creditors of :
Allied Systems Holdings, Inc. and its Affiliated
                                                   Adversary Proceeding No. 13-50530
Debtors, on behalf of Allied Systems Holdings,
Inc. and it Affiliated Debtors,

                               Plaintiffs,

Black Diamond Opportunity Fund II, LP, Black
Diamond CLO 2005-1 Ltd., and Spectrum
Investment Partners, L.P.,

                                Intervenors,

                             - against -

Yucaipa American Alliance Fund, I, LP, Yucaipa
American Alliance (Parallel) Fund I, L.P., Yucaipa :
American Alliance Fund, II, LP, Yucaipa            :
American Alliance (Parallel) Fund II, L.P., Mark
Gendregske, Jos Opdeweegh, James Frank, Dere:x
Walker, Jeff Pelletier, Ira Tochner and Joseph
Tomczak,

                                Defendants.
--------------------------------------------------------------)(

                        5.    The Debtors' Response and the Committee Response, to the e:xtent not

withdrawn at the Hearing or otherwise resolved by entry of this Order, and the Gendregske

Objection, are hereby overruled.

                    6.        The Petitioning Creditors' Adversary Proceeding shall be dismissed

without prejudice, and all discovery heretofore issued in the Petitioning Creditors' Adversary

Proceeding shall be deemed withdrawn.



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                   7.         The Petitioning Creditors, as intervenors, will be entitled to participate in

 the Committee Adversary Proceeding, including, without limitation, discovery, mediation and

 trial. Notwithstanding the foregoing, the Petitioning Creditors shall rely upon the discovery

 heretofore issued by the Committee, provided however, that the Petitibning Creditors shall have

 the rights to issue supplemental discovery requests as contemplated by the Scheduling Order

 [Dkt. No. 919].

                   8.         The Petitioning Creditors and the Committee shall use reasonable best

 efforts to avoid duplication and burden, including with respect to discovery. The Petitioning

 Creditors and Committee shall coordinate with respect to depositions so as to comply with Rule

 7030 of the Federal Rules of Bankruptcy Procedure.                          For the avoidance of doubt, the

 examination of each witness deposed shall be limited to 1 day of 7 hours unless otherwise

 authorized by the Court and/or applicable law.

                   9.         The Petitioning Creditors and Committee shall coordinate whether or not

 to file an amended complaint (if appropriate) in the Committee Adversary Proceeding.

                   10.        The Committee shall have ultimate decision making authority to prosecute

 the claims and causes of action contained in the Committee Adversary Proceeding, including,

 without limitation, the decision whether to file an amended complaint. However, the Committee

 shall consult with the Petitioning Creditors in good faith before any such decisions are made by

 the Committee.

                   11.        The Committee shall have the right to seek relief from the Court to modify

 the scope of the Petitioning Creditors' intervention in the Committee Adversary Proceeding in

 the event the Committee determines, in good faith, that the Petitioning Creditors' conduct as

 intervening plaintiffs is not in the best interests of the Debtors' estates and their creditors.           A11 .,fJ.,e.--
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                       12.   The Committee, the Petitioning Creditors and the Debtors are each hereby

vested with the authority to settle Claims. Any settlement of the Claims shall only be approved

pursuant to an Order of the Bankruptcy Court authorizing and approving such settlement

pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure (a "9019 Order"), and all

parties, including the Debtors, reserve the right to object to the entry of any such 9019 Order.
                                             \

                       13.   The Petitioning Creditors shall bear their own costs and expenses incurred

as Intervening Plaintiffs in connection with their participation in the Committee Adversary

Proceeding, provided, however, that the Petitioning Creditors reserve the right to seek payment

of those costs and expenses as a "substantial contribution" from the Debtors' estates under

Section 503(b) of the Bankruptcy Code. The rights of all parties in interest with respect to any

such request are hereby preserved.

                       14.   The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.



Dated: March.M, 2013
       Wilmington, Delaware                Tc~RISTOPHER               S. SONTCHI
                                           UNITED STATES BANKRUPTCY JUDGE




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(935 00 l-W0025311.)
